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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF KENTUCKY
                            PADUCAH DIVISION
                         CASE NO. 5:11-CV-106-R


MATTHEW K. O’NEIL                                                     PLAINTIFF

V.

TRACE, INC., et al.                                                DEFENDANTS


                          ORDER OF DISMISSAL


      The Court has been informed that a settlement has been reached.
      IT IS ORDERED that said action is DISMISSED from the docket. If settlement
is not concluded within 30 days any party may move to have the case reinstated
on the docket.


       May 20, 2013




cc: Counsel
